     Iaurull1                                                    9

1    UNITED STATES DISTRICT COURT
     SOUTHERN DISTRICT OF NEW YORK
2    ------------------------------x

3    UNITED STATES OF AMERICA

4                 v.                          18 CR 16 (RJS)

5    AKAYED ULLAH,
                                              Trial
6                       Defendant.

7    ------------------------------x
                                              New York, N.Y.
8                                             October 30, 2018
                                              12:00 p.m.
9
     Before:
10
                HON. RICHARD J. SULLIVAN
11
                                              District Judge
12

13              APPEARANCES

14
     GEOFFREY S. BERMAN
15   United States Attorney for the
          Southern District of New York
16   SHAWN G. CROWLEY
     REBEKAH A. DONALESKI
17   GEORGE D. TURNER
          Assistant United States Attorneys
18

19   FEDERAL DEFENDERS OF NEW YORK, INC.
          Attorneys for Defendant
20   BY: AMY GALLICCHIO
          JULIA GATTO
21        COLLEEN P. CASSIDY

22
     Also Present:
23
          JOHN MAURER - Special Agent, FBI
24        MICHAEL DELUCA - Paralegal, U.S. Attorney
          JASON T. FISCHER - Paralegal, Federal Defenders
25        CHIRAAYHU GOSRANI - Paralegal, Federal Defenders

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     Ib5rull6                  Charge                             954

1               There has been evidence in this case that the

2    defendant made statements to government and law enforcement

3    authorities.    Evidence of these statements is properly admitted

4    in this case and may properly be considered by you.   You are to

5    give those statements such weight as you feel they deserve in

6    light of all the circumstances.    Whether you approve or

7    disapprove of the use of these statements may not enter into

8    your deliberations.   I instruct you that no one's rights were

9    violated and that the government's use of this evidence is

10   entirely lawful.

11              You have heard testimony from four expert witnesses:

12   Aaron Zelin, Derrick McClarin, Robert Gillette, and Christopher

13   Rigopoulos.    An expert is a witness who by education or

14   experience has acquired learning or experience in a specialized

15   area of knowledge beyond the knowledge of the average juror.

16   Such witnesses are permitted to give their opinions as to

17   relevant matters in which they prove to be an expert and to

18   give their reasons for their views.

19              Your role in judging credibility applies to experts as

20   it does to any other witness.   You should consider the expert

21   opinions that were received in evidence in this case and give

22   them as much or as little weight as you think they deserve.

23              You have heard the testimony of law enforcement

24   witnesses.    The fact that a witness may be or has been employed

25   as a law enforcement officer does not mean that his or her

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1    UNITED STATES DISTRICT COURT
     SOUTHERN DISTRICT OF NEW YORK
2    ------------------------------x

3    UNITED STATES OF AMERICA,

4                 v.                              18 CR 124 (JPO)

5    LEONARD MATHEWS,

6                      Defendant.

7    ------------------------------x

8                                                 New York, N.Y.
                                                  September 24, 2018
9                                                 9:45 a.m.

10   Before:

11                           HON. J. PAUL OETKEN,

12                                                District Judge
                                                   -And a Jury-
13

14                                  APPEARANCES

15
     GEOFFREY S. BERMAN,
16        United States Attorney for the
          Southern District of New York
17   JUSTIN V. RODRIGUEZ
     DOMINIC GENTILE
18   EMIL BOVE
          Assistant United States Attorneys
19
     BRUCE K. KAYE
20        Attorney for Defendant

21
     ALSO PRESENT:
22
     SABRINA PARISI, USAO Paralegal
23   ELVIS COLE, NYPD

24

25              (Case called; jury pool not present)


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     IA1KMAT4                  Charge

1    opportunity or lack of opportunity to call any of these

2    witnesses.    Therefore, you should not draw any inference or

3    reach any conclusions as to what they would have testified to

4    had they been called.   Their absence should not affect your

5    judgment in any way.

6               You should, however, remember my instruction that the

7    law does not impose on a defendant in a criminal case the

8    burden or duty of calling any witness or producing any

9    evidence.    The burden remains with the government to prove the

10   guilt of the defendant beyond a reasonable doubt.

11              There has been evidence that the defendant made

12   statements to law enforcement authorities or other

13   investigators.   Evidence of these statements was properly

14   admitted in this case and may be properly considered by you.

15   You are to give the statements such weight as you feel they

16   deserve in light of all the evidence.

17              Whether you approve or disapprove of the use of these

18   statements may not enter into your deliberations.    I instruct

19   you that the statements were both made and obtained in a lawful

20   manner, and that no one's rights were violated, and the

21   government's use of the evidence is entirely lawful.

22              You have heard testimony that defendant made

23   statements in which the defendant claimed that his conduct was

24   consistent with innocence and not with guilt.    The government

25   claims that these statements in which the defendant exculpated


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1    UNITED STATES DISTRICT COURT
     SOUTHERN DISTRICT OF NEW YORK
2    ------------------------------x

3    UNITED STATES OF AMERICA,                    New York, N.Y.

4                 v.                              S1 17 Cr. 0739(RA)

5    PATRICK MURACA,

6                      Defendant.

7    ------------------------------x

8
                                                  July 30, 2018
9                                                 9:55 a.m.

10
     Before:
11
                             HON. RONNIE ABRAMS,
12
                                                  District Judge
13

14                                  APPEARANCES

15   GEOFFREY S. BERMAN
          United States Attorney for the
16        Southern District of New York
     BY: DAVID ABRAMOWICZ
17        KATHERINE REILLY
          CHRISTOPHER DiMASE
18             Assistant United States Attorneys

19   BENNETT EPSTEIN
     SARAH SACKS
20        Attorneys for Defendant

21              - also present -

22   Sam Lachow, government paralegal

23   SA Jordan Anderson, FBI

24

25


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     I86sMUR5                  Charge

1    other people are not on trial before you now.   Those matters

2    are wholly outside your concern and have no bearing on your

3    function as jurors in deciding the case before you.

4               Some of the exhibits that were admitted into evidence

5    were in the form of charts or summaries.   I decided to admit

6    these charts and summaries in place of, or in addition to the

7    underlying documents that they represent in order to save time

8    and avoid unnecessary inconvenience.   You should consider these

9    charts and summaries as you would any other evidence.

10              During the course of the trial, you have seen, among

11   the exhibits received in evidence, some documents that are

12   redacted.    Redacted means that part of the document was taken

13   out.   You are to certain yourself only with the part of the

14   item that has been admitted into evidence.   You should not

15   speculate as to any reason why the other part of it has been

16   redacted.

17              There has been no evidence that Mr. Muraca made

18   statements to law enforcement authorities.   Evidence of these

19   statements was properly admitted in this case, and may be

20   properly considered by you.   You are to give the statements

21   such weight as you feel they deserve in light of all of the

22   evidence.

23              Whether you approve or disapprove of the use of these

24   statements may not enter into your deliberations.    I instruct

25   you that the statements were both made and obtained in a lawful


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     I86sMUR5                  Charge

1    manner, and that no one's rights were violated and the

2    government's use of this evidence is entirely lawful.

3               You have heard testimony that Mr. Muraca made certain

4    statements in which he claimed that his conduct was consistent

5    with innocence and not guilt.   The government claims that these

6    statements in which Mr. Muraca exculpated himself are false.

7    If you find that Mr. Muraca gave a false statement in order to

8    divert suspicion from himself, you may, but are not required

9    to, infer that Mr. Muraca believed that he was guilty.      You may

10   not, however, infer on the basis of this alone that Mr. Muraca

11   is, in fact, guilty of the crimes for which he is charged.

12              Whether the evidence as to Mr. Muraca's statements

13   shows that the defendant believed that he was guilty, and the

14   significance, if any, to be attached to any such evidence, are

15   matters for you, the jury, to decide.

16              Under our Constitution, the defendant in a criminal

17   case never has any duty to testify or come forward with any

18   evidence.    This is because the burden of proof beyond a

19   reasonable doubt remains on the government at all times, and

20   the defendant is presumed innocent.   A defendant is never

21   required to prove that he or she is innocent.

22              The defendant, Mr. Muraca, did not testify in this

23   case.   You may not attach any significance to that fact.    No

24   adverse inference against him may be drawn by you in any way

25   and you may not consider this fact against him in any way in


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     H9i2cal1

1    UNITED STATES DISTRICT COURT
     SOUTHERN DISTRICT OF NEW YORK
2    ------------------------------x

3    UNITED STATES OF AMERICA,

4               v.                              13 CR 582 (LAP)

5    ANDRE CALIX,

6                    Defendant.

7    ------------------------------x
                                                New York, N.Y.
8                                               September 18, 2017
                                                10:00 a.m.
9

10   Before:

11                        HON. LORETTA A. PRESKA

12                                              District Judge

13
                                  APPEARANCES
14
     JOON H. KIM
15        Acting United States Attorney for the
          Southern District of New York
16   NATHAN REHN
     TIMOTHY V. CAPOZZI
17   BRENDAN QUIGLEY
          Assistant United States Attorneys
18
     FEDERAL DEFENDERS OF NEW YORK
19        Attorneys for Defendant
     ROBERT BAUM
20   SYLVIE LEVINE
     IAN MARCUS AMELKIN
21

22   ALSO PRESENT:

23   JASON FLOYD, Special Agent, FBI
     SARA GOMEZ, Paralegal, Federal Defenders of New York
24   JASON FISCHER, Federal Defenders of New York
     ANDREW HAMILTON, Paralegal, USAO
25


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     H9I3CAL4                  Jury Charge

1    find to be proven, such reasonable inferences as would be

2    justified in light of your experience.

3               Here, again, however, let me remind you that, whether

4    based on direct or circumstantial evidence or upon the logical

5    reasonable inferences drawn from such evidence, you must be

6    satisfied of the guilt of the defendant beyond a reasonable

7    doubt before you may convict.

8               You've heard evidence in the form of a stipulation of

9    fact.   A stipulation of fact is an agreement between the

10   parties that a certain fact is true.    You must regard such

11   agreed facts as true.   It is for you, however, to determine the

12   effect to be given to any stipulated fact.

13              There has been evidence that the defendant, Andre

14   Calix, made statements to law enforcement authorities.

15   Evidence of these statements was properly admitted in this case

16   and may properly be considered by you.    You are to give the

17   evidence of such statements such weight as you feel it deserves

18   in light of all of the evidence.   Whether you approve or

19   disapprove of the use of these statements may not enter into

20   your deliberations.   I instruct you that no one's rights were

21   violated, and that the government's use of this evidence is

22   entirely lawful.

23              There has been a great deal said in the openings and

24   the summations of counsel about whether various witnesses

25   should be believed.   I am sure it's clear to you by now that


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1    UNITED STATES DISTRICT COURT
     SOUTHERN DISTRICT OF NEW YORK
2    ------------------------------x
     UNITED STATES OF AMERICA,
3
                v.                           16 Cr. 488 (LAK)
4
     KEVIN STERLING, ALONZO VERNON,
5
                    Defendants.              Trial
6    ------------------------------x

7                                            New York, N.Y.
                                             April 3, 2017
8                                            9:39 a.m.

9    Before:

10                        HON. LEWIS A. KAPLAN,

11                                           District Judge,
                                               and a Jury
12
                               APPEARANCES
13
     JOON H. KIM
14        Acting United States Attorney for the
          Southern District of New York
15   BY: DREW T. JOHNSON-SKINNER
          JUSTINA L. GERACI
16        ANDREW C. ADAMS
          Assistant United States Attorneys
17
     COLSON LAW PLLC
18        Attorneys for Defendant Kevin Sterling
     BY: DEBORAH A. COLSON, ESQ.
19
     CHARLES A. ROSS & ASSOCIATES, LLC
20        Attorneys for Defendant Kevin Sterling
     BY: DOREA H. SILVERMAN, ESQ.
21
     GEORGE R. GOLTZER, ESQ.
22        Attorney for Defendant Alonzo Vernon

23   YING STAFFORD, ESQ.
          Attorney for Defendant Alonzo Vernon
24
     ALSO PRESENT:   DARCI BRADY, Paralegal, USAO
25                   JARED TEPPERMAN, Detective, NYPD
                     SARAH WALDRON, Paralegal, Defense

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     H4hdste6                  Charge

1    testify, and you may not consider the fact against either

2    defendant in any way in your deliberations in the jury room.

3               There has been evidence that one or both of the

4    defendants -- and your memory will serve you on this -- made

5    statements to law enforcement authorities.   Evidence of these

6    statements was properly admitted in this case and may be

7    properly considered by you, subject, of course, in the case of

8    the statement Mr. Sterling is said to have made at the time of

9    his arrest, only against him.   You are to give the evidence of

10   such statements such weight as you feel it deserves in light of

11   all the evidence.   Whether you approve or disapprove of the use

12   of those statements may not enter into your deliberations.     I

13   instruct you that no one's rights were violated and the

14   government's use of that evidence is entirely lawful.

15              You have heard evidence that Kevin Sterling left the

16   New York City area sometime after the June 1, 2016 shooting.

17   If proved, the flight of a defendant after he thinks he may be

18   accused of a crime may tend to prove that the defendant

19   believed he was guilty.   This may be weighed by you in this

20   connection together with all of the evidence.   However, a

21   departure from an area may be merely coincidence.     Even

22   intentional flight doesn't always reflect feelings of guilt.

23   Moreover, feelings of guilt which are present in many innocent

24   people do not necessarily reflect actual guilt.      You are

25   specifically cautioned that evidence of flight of a defendant


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     GBI9FLO1                  Trial

1    UNITED STATES DISTRICT COURT
     SOUTHERN DISTRICT OF NEW YORK
2    ------------------------------x
     UNITED STATES OF AMERICA,
3
                v.                            15 Cr. 765 (PAC)
4
     EFRAIN ANTONIO CAMPO FLORES and
5    FRANQUI FRANCISCO FLORES DE FREITAS,

6                   Defendants.
     ------------------------------x
7
                                              New York, N.Y.
8                                             November 18, 2016
                                              9:43 a.m.
9    Before:

10                          HON. PAUL A. CROTTY,

11                                            District Judge

12                              APPEARANCES

13   PREET BHARARA
          United States Attorney for the
14        Southern District of New York
     EMIL J. BOVE III
15   BRENDAN F. QUIGLEY
          Assistant United States Attorneys
16
     BOIES, SCHILLER & FLEXNER LLP
17        Attorneys for Defendant Campo Flores
     RANDALL W. JACKSON
18   JOHN T. ZACH
     JOANNA CHRISTINE WRIGHT
19
     SIDLEY AUSTIN LLP
20        Attorneys for Defendant Flores de Freitas
     DAVID M. RODY
21   ELIZABETH A. ESPINOSA
     MICHAEL D. MANN
22
     ALSO PRESENT:
23
     ERIKA DE LOS RIOS
24   MIRTA HESS
     Spanish Interpreters
25


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     GBI9FLO1                  Charge

1    your deliberations in the jury room.

2               Now there has been evidence that Mr. Campo Flores and

3    Mr. Flores de Freitas made certain factual admissions to

4    Special Agent Sandalio Gonzalez during the flight from Haiti to

5    Westchester on November 10, 2015.    For example, there are notes

6    of the defendants' statements that Special Agent Gonzalez

7    testified he took contemporaneously.    There are also

8    typewritten reports of the defendants' statements, dated three

9    and six days after the flight, that Special Agent Gonzalez

10   testified he prepared.   There are no audio recordings or audio

11   visual recordings of the defendants' statements; Special Agent

12   Gonzalez testified that he did not record them.

13              Now evidence of these statements was properly admitted

14   in this case, and may be considered by you.    You are to give

15   the evidence of such statements such weight as you feel it

16   deserves in light of the evidence.    Whether you approve or

17   disapprove of the use of these statements may not enter your

18   deliberations.   I instruct you that no one's rights were

19   violated and that the government's use of this evidence is

20   entirely lawful.

21              I must emphasize that the evidence of

22   Mr. Campo Flores' statements to the authorities after his

23   arrest about his own conduct may not be considered or discussed

24   by you in any way with respect to Mr. Flores de Freitas.

25   Similarly, the evidence of Mr. Flores de Freitas' statements to


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        Case 1:15-cr-00377-AJN Document 96 Filed 12/04/15 Page 1 of 89   1
     FB21RAW1

1    UNITED STATES DISTRICT COURT
     SOUTHERN DISTRICT OF NEW YORK
2    ------------------------------x

3    UNITED STATES OF AMERICA,

4                v.                                 15 CR 377 (AJN)

5    STEVEN RAWLINS,

6                     Defendant.

7    ------------------------------x

8                                                   New York, N.Y.
                                                    November 2, 2015
9                                                   9:40 a.m.

10
     Before:
11
                             HON. ALISON J. NATHAN,
12
                                                    District Judge
13

14                                 APPEARANCES

15
     PREET BHARARA,
16        United States Attorney for the
          Southern District of New York
17   ANDREW J. DeFILIPPIS, ESQ.
     ANDREW BAUER, ESQ.
18        Assistant United States Attorney

19   BRAUN & ASSOCIATES
          Attorneys for Defendant
20   BY: RICHARD J. BRAUN, ESQ.

21   SULLIVAN & BRILL, LLP
          Attorneys for Defendant
22   BY: STEVEN G. BRILL, ESQ.

23   ALSO PRESENT:

24   CHRISTOPHER DELZOTTO, Special Agent, FBI
     MARY DIAZ, Paralegal Specialist, U.S. Attorney's Office
25   HOLLY MEISTER, Paralegal Specialist, U.S. Attorney's Office


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       Case 1:15-cr-00377-AJN Document 116 Filed 12/04/15 Page 34 of 60    2075
     FBGKRAW1

1              Statements of the Defendant:       There has been evidence

2    that the defendant made certain statements to law enforcement

3    authorities.    Evidence of this statement was properly admitted

4    in this case and may be properly considered by you.           You are to

5    give the evidence of such statements such weight as you feel it

6    deserves in light of all of the evidence.         Whether you approve

7    or disapprove of the use of these statements may not enter into

8    your deliberations.

9              Persons Not on Trial or Not Indicted:         If you conclude

10   that other persons may have been involved in criminal acts

11   charged in the information, you may not draw any inference,

12   favorable or unfavorable, towards the government or the

13   defendant from the fact that certain persons other than the

14   defendant were not named as defendants in the information.           You

15   also may not speculate as to the reasons why other persons are

16   not on trial.    Those matters are wholly outside your concern

17   and have no bearing on your function as jurors.

18             Particular Investigative Techniques Not Required:          You

19   have heard reference in the arguments of defense counsel in

20   this case to the fact that certain investigative techniques

21   weren't used by law enforcement authorities.          There is no legal

22   requirement that the government prove its case through any

23   particular means.     While you are to consider carefully the

24   evidence presented by the government, you need not speculate as

25   to why the government used the techniques it did or why it did


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